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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                    Plaintiffs,             CASE NO. 3:17-cv-72

     v.
                                                            ORDER
     JASON KESSLER, et al.,
                                    Defendants.
                                                            JUDGE NORMAN K. MOON


               Order Granting Plaintiffs’ Motion in Limine to Preclude Defendants
                     from Introducing Certain Collateral Source Evidence

          Before the Court is Plaintiffs’ motion in limine to preclude Defendants from introducing

   collateral source evidence. Dkt. 1144. Plaintiffs move the Court to exclude “compensation,

   reimbursement, donations, or other funds from a variety of collateral sources, including, but not

   limited to: health insurance, workers’ compensation programs, and gifts from third-parties,

   including donations through online, crowd-funded campaigns.” Id. at 1.

          The collateral source rule excludes evidence that an injured party has been compensated

   by some source other than the party from whom they seek damages. Sloas v. CSX Transp., Inc.,

   616 F.3d 380, 389 (4th Cir. 2010) (“The collateral source rule holds that compensation from a

   collateral source should be disregarded in assessing tort damages.”) (internal quotation marks

   omitted). The rule prohibits a defendant from attempting to evade liability or reduce their

   damages based on the “fact that [a] plaintiff may receive,” or has already received,

   “compensation from a collateral source.” Scarborough v. Atl. Coast Line R. Co., 190 F.2d 935,

   940 (4th Cir. 1951).

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          Federal law has long recognized the collateral source rule. See, e.g., Eichel v. N.Y. Cent.

   R. Co., 375 U.S. 253, 255 (1964) (applying the rule to claims brought under a federal statute).

   The rule applies to wide range of collateral sources. See Restatement (Second) of Torts § 920A

   cmts. b, c (1979) (listing categories, including insurance, employment and government benefits,

   and gifts); see also Rayfield v. Lawrence, 253 F.2d 209, 214 (4th Cir. 1958) (applied to medical

   services “paid for by a third person as a gift”); McCaleb v. Rely Transportation, Inc., No. 4:19-

   cv-640, 2021 WL 4048552 at *2 (N.D. Tex. Jan. 5, 2021) (applied to GoFundMe campaign);

   Stokes v. City of Visalia, No. 1:17-cv-1350, 2018 WL 1116548, at *6 (E.D. Cal. Feb. 26, 2018)

   (also applied to GoFundMe). Virginia law also recognizes the collateral source rule. See Acordia

   of Va. Ins. Agency, Inc. v. Genito Glenn, L.P., 560 S.E.2d 246, 251 (Va. 2002); Schickling v.

   Aspinall, 369 S.E.2d 172, 174 (Va. 1988).

          Within the context of the Federal Rules of Evidence, collateral source evidence is

   generally inadmissible because it is not relevant. See Fed. R. Evid. 401; see also Riddle v. Exxon

   Transp. Co., 563 F.2d 1103, 1107 (4th Cir. 1977) (“Nothing in the . . . Federal Rules of Evidence

   authorizes departure from the [collateral source] rule.”); Phillips v. W. Co. of N. Am., 953 F.2d

   923, 930 (5th Cir. 1992) (“[E]vidence of collateral benefits simply has no relevance. . . .”). Even

   when collateral source evidence is relevant, it is generally inadmissible under Rule 403 because

   it presents a “substantial likelihood of prejudicial impact” that “clearly outweighs” any probative

   value that it might offer. Eichel, 375 U.S. at 255; see also Hawkins v. United Overseas Exp.

   Lines, Inc., 490 F. Supp. 138, 142 (D. Md. 1980) (noting the “strong policy” against admitting

   collateral source evidence because of its prejudicial effect). The strong presumption against

   collateral source evidence applies even when the evidence is purportedly being offered “for


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   purposes not directly related to the [collateral] payments themselves,” such as to show “the

   extent and duration of [a] plaintiff’s injury.” Hawkins, 490 F. Supp. at 141–42 (collecting cases).

           Here, the collateral sources in question—including the compensation Plaintiffs received

   from health insurance, workers’ compensation, and gifts from third parties, such as crowd-

   funded campaigns—are not relevant to Defendants’ case, and, even if they were, would be

   inadmissible under Rule 403 because the danger that they would cause undue prejudice would

   substantially outweigh their probative value.

           Therefore, the Court GRANTS Plaintiffs’ motion in limine to exclude Defendants from

   introducing collateral source evidence, Dkt. 1144, but only with respect to the collateral sources

   specifically identified in the motion. The Court’s Order extends to these collateral sources

   identified in Plaintiffs’ motion: health insurance, workers’ compensation, and gifts from third

   parties, including donations through online, crowd-funded campaigns. Should Plaintiffs identify

   any other collateral sources, they may move the Court to rule on their admissibility.

           It is so ORDERED.

           The Clerk of Court is directed to send a certified copy of this Order to all counsel of

   record, and to pro se litigants.

                         15th day of October, 2021.
           Entered this _____




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